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 1                                                                   The Honorable Ricardo S. Martinez
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 7                                   UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
                                          )
 9   WENDY VALENTINE, individually,       )                     CASE NO. 2:19-CV-01394-RSM
                                          )
10                 Plaintiff,             )                     STIPULATION AND ORDER TO
                                          )                     EXTEND TRIAL DATE AND
11          v.                                                  RELATED DEADLINES
                                          )
12   LIFEMAP ASSURANCE COMPANY, a foreign )
     corporation ,                        )
13                                        )
                   Defendant.             )
14                                        )
15            COME NOW the parties hereto, by and through their attorneys of record, and hereby
16   stipulate as follows:
17                                             STIPULATION
18            Pursuant to LCR 10(g), the parties to the above-captioned matter hereby stipulate and
19   jointly request that the Court extend the trial date and related deadlines. The parties accordingly
20   request that the Court amend the October 22, 2019 Order Setting Trial Date and Related Dates,
21   Dkt. 8, to continue the trial date in 2021 that is agreeable to the Court, with related deadlines
22   advanced at roughly the same interval, adjusted for weekends and holidays.
23            This stipulation is brought forth by good cause and not for purposes of delay. The parties
24   have not previously requested an extension of the trial date and they are actively working on
25   settlement and will provide an update to the Court accordingly, but not later than 30 days from
26   this filing.
27
                                                                                   KARR TUTTLE CAMPBELL
                                                                                  701 Fifth Avenue, Suite 3300
     STIPULATION AND ORDER TO EXTEND TRIAL DATE                                    Seattle, Washington 98104
     AND RELATED DEADLINES - 1                                                            Main: (206) 223 1313
     #1345425 v1 / 43004-065                                                               Fax: (206) 682 7100
                 Case 2:19-cv-01394-RSM Document 10 Filed 10/19/20 Page 2 of 4



 1            Pursuant to PCLR 40(g)(2)(B), the undersigned counsel certifies that we have discussed
 2   this stipulation and the basis for this stipulation with our clients and agree to the motion to continue.
 3            The parties respectfully move the Court to continue the trial date from November 16, 2020
 4   (which has already been extended by the Court’s General Order 15-20 for in-person proceedings)
 5   to a date convenient to the Court in 2021. The parties further stipulate that the Court adjust all
 6   other court deadlines accordingly.
 7            Respectfully submitted this 16th day of October, 2020.
 8

 9                                                   /s/Medora A. Marisseau
                                                     Medora A. Marisseau, WSBA No. 23114
10                                                   KARR TUTTLE CAMPBELL
                                                     701 Fifth Avenue, Suite 3300
11                                                   Seattle, WA 98104
                                                     Telephone: 206-223-1313
12                                                   Facsimile: 206-682-7100
                                                     Email: MMarisseau@karrtuttle.com
13                                                   Attorney for Defendant LifeMap Assurance
                                                     Company
14

15                                                   /s/Elizabeth LePley
                                                     Elizabeth LePley, WSBA No. 40667
16                                                   Lehmbecker Law Firm
                                                     400 108th Ave NE, Suite 500
17                                                   Bellevue, WA 98005
                                                     Telephone: (425) 455-3186
18                                                   Facsimile: (425) 454-5832
                                                     Email: elepley@lehmlaw.com
19                                                   Attorney for Plaintiff
20

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                                                                                      KARR TUTTLE CAMPBELL
                                                                                     701 Fifth Avenue, Suite 3300
     STIPULATION AND ORDER TO EXTEND TRIAL DATE                                       Seattle, Washington 98104
     AND RELATED DEADLINES - 2                                                               Main: (206) 223 1313
     #1345425 v1 / 43004-065                                                                  Fax: (206) 682 7100
                 Case 2:19-cv-01394-RSM Document 10 Filed 10/19/20 Page 3 of 4



 1
                                                 ORDER
 2
              This matter having come before the Court by Stipulation entered by Plaintiff Wendy
 3
     Valentine and Defendant Lifemap Assurance Company:
 4
              IT IS HEREBY ORDERED that the trial date of November 16, 2020 and related pretrial
 5
     deadlines shall be continued and the court will issue a new scheduling order within 30 days.
 6

 7
              IT IS SO ORDERED this 19th day of October, 2020.
 8

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                                                  A
                                                  RICARDO S. MARTINEZ
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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14   Presented by:

15   /s/Medora A. Marisseau
     Medora A. Marisseau, WSBA No. 23114
16   Karr Tuttle Campbell
     701 Fifth Avenue, Suite 3300
17
     Seattle, WA 98104
18   Telephone: 206-223-1313
     Facsimile: 206-682-7100
19   Email: MMarisseau@karrtuttle.com
     Attorney for Defendant LifeMap Assurance Company
20

21
     /s/Elizabeth LePley
22   Elizabeth LePley, WSBA No. 40667
     Lehmbecker Law Firm
23   400 108th Ave NE, Suite 500
     Bellevue, WA 98005
24   Telephone: (425) 455-3186
25   Facsimile: (425) 454-5832
     Email: elepley@lehmlaw.com
26   Attorney for Plaintiff

27
                                                                                KARR TUTTLE CAMPBELL
                                                                               701 Fifth Avenue, Suite 3300
     STIPULATION AND ORDER TO EXTEND TRIAL DATE                                 Seattle, Washington 98104
     AND RELATED DEADLINES - 3                                                         Main: (206) 223 1313
     #1345425 v1 / 43004-065                                                            Fax: (206) 682 7100
                 Case 2:19-cv-01394-RSM Document 10 Filed 10/19/20 Page 4 of 4



 1                                    CERTIFICATE OF SERVICE
 2            I, Jan Likit, affirm and state that I am employed by Karr Tuttle Campbell in King County,

 3   in the State of Washington. I am over the age of 18 and not a party to the within action. My

 4   business address is: 701 Fifth Ave., Suite 3300, Seattle, WA 98101. On this day, I caused to be

 5   filed with King County Superior Court a true and correct copy of the foregoing document by using

 6   the Court’s electronic filing system. I caused the same to be served on the parties listed below in

 7   the manner indicated.

 8     Elizabeth LePley, WSBA No. 40667                            Via U.S. Mail
       Lehmbecker Law Firm                                         Via Hand Delivery
 9     400 108th Ave NE, Suite 500                                 Via Electronic Mail
                                                                   Via Overnight Mail
10     Bellevue, WA 98005                                          CM/ECF via court’s website
       Telephone: (425) 455-3186
11     Facsimile: (425) 454-5832
       Email: elepley@lehmlaw.com
12     Attorney for Plaintiff
13            I declare under penalty of perjury under the laws of the United States of America that the
14   foregoing is true and correct, to the best of my knowledge.
15            Dated this 16th day of October, 2020, at Seattle, Washington.
16
                                                   /s/ Jan Likit
17                                                                          Jan Likit
                                                                   Litigation Legal Assistant
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                                                                                   KARR TUTTLE CAMPBELL
                                                                                   701 Fifth Avenue, Suite 3300
     STIPULATION AND ORDER TO EXTEND TRIAL DATE                                     Seattle, Washington 98104
     AND RELATED DEADLINES - 4                                                             Main: (206) 223 1313
     #1345425 v1 / 43004-065                                                                Fax: (206) 682 7100
